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UNITED STATE DISTRICT COURT

FOR THE
DISTRICT OF RHODE ISLAND
ANGELO PADULLA
PLAINTIFF
-V-
TANYA MOURATO POLAK
DEFENDANT
COMPLAINT
1. Plaintiff, Angelo Padulla is a resident of the City of West Warwick, State of Rhode
Island.
2. Defendant, Tanya Mourato Polak, is a resident of the city of Blackstone, Commonwealth
of Massachusetts.

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This court has jurisdiction pursuant to 28 U.S.C. 1332, the Plaintiff is a citizen of the
State Rhode Island and the Defendant is a citizen of the Commonwealth of Massachusetts
and the amount in controversy is in excess of $100,000.00.

4. Onor about the 19" day of June, 2019 the defendant published and continues to publish

false statements purporting to be facts about Plaintiff to third persons via various Web

sites. No privilege, absolute or conditional, attaches to these statements. Defendant’s
false and defamatory statements have caused damages to Plaintiff's reputation. (see

attached Exhibit A).

The Defendant intended the publication of the false statement.

6. At the time of the publication of the false statement by the Defendant about the Plaintiff,
the Defendant knew the statement was false at the time and/or showed a reckless
disregard for whether the statement was true or false.

7. The Defendant’s libel was such as to be per se libel in that it is obviously hurtful to
Plaintiff's reputation.

8. The willful, reckless, wanton and intentional acts of the Defendant constitutes defamation
and has caused damages to the Plaintiff.

9. The plaintiff demands a trial by jury.

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WHEREFORE, Plaintiff respectively requests that this Honorable Court enter judgment for
the Plaintiff against the Defendant for his damages including but not limited to punitive

damages, costs of suit, attorney’s fees, interest and any other relief that this Honorable court
deems meet and just.

I, Angelo Padula, by signing below, certify to the best of my knowledge, information, and
belief that this complaint: (1) is not being presented for an improper purpose, such as to
harass, cause unnecessary delay, or needlessly increase the costs of litigation; (2) is
supported by existing law or by a nonfrivolous argument for extending, modifying, or
reversing existing law; (3) the factual contentions have evidentiary support or, if specifically
 

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after a reasonable opportunity for further

so identified, will likely have evidentiary support
and (4) the complaint otherwise complies with the requirements

investigation or discovery;

 

 
  
  
 

 

 

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